
648 S.E.2d 843 (2007)
Michael S. PERKINSON
v.
Charles HAWLEY, individually and in his capacity as Jail Administrator; R.T. Breedlove, Sheriff of Vance County, individually and in his official capacity; Western Surety Company; and CNA Surety Company.
No. 457P06.
Supreme Court of North Carolina.
June 27, 2007.
Michael Perkinson, pro se.
James R. Morgan, Jr., Winston-Salem, for Hawley, et al.

ORDER
Upon consideration of the petition filed on the 28th day of August 2006 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 27th day of June 2007."
